Case 2'02-CV-02793-BBD-tmp Document 69 Filed 05/18/05 Page 1 of 2 Page|D 106

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IN THE UNITED sTATEs DISTRICT coURT °
FOR 'I'HE wEsTERN DIsTRIcT oF TENNBS$'§§' Lgyp,

wESTERN DIvIsION ;" 3

  
 

 

 

YOLANDA HANANIYA,
Plaintiff,
vs. Civ. No. 02-2793~D[P

CITY OF MEMPHIS, et al.,

Defendants.

v\.z~._¢'~._»~\_r`_¢-._r~_¢\.z~._¢\_p

 

ORDER GRANTING CONTINUANCE

 

Before the Court is plaintiff's Motion for Continuance, filed
May 13, 2005 (Dkt #66). For good cause shown, the nmtion is
GRANTED. The parties are hereby Ordered to appear before
Magistrate Judge Tu M. Pham, Courtroom #6, Third Floor, On June 9,
2005, at 10:15 a.m. for a scheduling Conference.

IT IS SO ORDERED.

 

TU M. PHA\i\/I
United States Magistrate Judge

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Date l

 

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Honorable Bernice Donald
US DISTRICT COURT

